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                                   IPP International U.G. Declaration Exhibit A
                                     File Hashes for IP Address 173.66.42.25

ISP: Verizon Online, LLC
Physical Location: Arlington, VA



Hit Date UTC           File Hash                                           Title
08/04/2017 21:51:21    7F30DB538482FB13F44A1F5B9E72FD75BB8030EB            Emerald Love

08/04/2017 21:41:02    E3B203419FB0600C8FEDA0E9A4EECBB9E77576D8            Want To Fuck My Wife

08/03/2017 02:44:09    ED5182AF8AFCB1BBFDB4EC2C02CF9B6CA5549AD9            Caprice Swaps Cocks

08/03/2017 02:18:54    407C62C43DE3A1F4C48979E4C145AD5199CC7F05            Forbidden Fruit

07/30/2017 20:23:05    C1992B39AE82163756C2598B4488FBF68D2AA870            Summer Sex with Sybil

07/29/2017 00:32:16    27A442046E8EE81E3C4FC33A4E0687EB1D7041AF            Summer Lovers

07/28/2017 22:46:11    063B7CC16F0CF6BF701E6F91B75FA7F57EECA037            Definitely Not So Shy

06/03/2017 19:17:42    0FEB782D43D19333144FAAF9E2F5F6BC9712CBD4            Sex Games

06/03/2017 19:12:26    64FEDA6D84983A3470C7FB2F17B7206DD91A0E80            Introducing Kimmy

06/03/2017 19:10:00    7F7BD0A6F6E60C864A8532D71C393CF6AEA78270            Kiss From A Rose

06/03/2017 18:45:02    9DDF69A7085E60CFE619236137D8759D95286485            Pussy Party

06/03/2017 18:09:41    56867CCD6147CB5079F39902C0B6F0E78A034688            The Ranch Hand

05/30/2017 16:42:41    BEC5A3845EC88D752CDA0C0DFA8691C3883C7EFB            Triple Treat

05/30/2017 16:41:14    BD854E344F04DFE65B2D8A69F27CA4E023BFA1E4            Superhot Sexting

05/30/2017 15:16:06    DAF7FFE7DFC7E7DF9522B8CC49D7B887123F4B62            Sultry Summer Heat

05/30/2017 15:15:04    DDBAB366A23DE818C1DCD4F00C4BC42DFA6A49A0 Wet Perfection

05/30/2017 13:24:14    016699010C6AA5E9A1AE6F0C670B2484104C2B26            Girl Crush

05/30/2017 13:17:53    CDCFAF4C5C41DFFA02C2DFC995F021407032CFE1            Luscious Lena


Total Statutory Claims Against Defendant: 18




                                                   EXHIBIT A
EVA361
